AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                 u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-901M(NJ)
      a USPS Parcel assigned tracking number                                )
          9505 5115 9083 2136 4485 84                                       )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  The SUBJECT PARCEL is described as a 14.125” L x 12.0” W x 3.5” H, a white colored USPS branded Priority Mail cardboard
  box, weighing approximately 6 pounds 4.4 ounces or 2,847 grams, and bearing USPS Priority Mail Parcel number 9505 5115
  9083 2136 4485 84. The exterior of the SUBJECT PARCEL box is handwritten on with a black marker and is addressed from,
  “Desiree Lopez Astol Barrio Santa Rosa, Calle A Buzon 265, Hatillo P.R. 00659.” The SUBJECT PARCEL is addressed to
  “Johndeny Vega Lopez 1021 Lincoln Ave Sheboygan WI 53081-2648.” The Postage paid was $16.10.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  A controlled substance, fruits of crime, or other evidence of distribution and possession with intent to distribute a controlled
  substance, conspiracy to distribution and possession with intent to distribute a controlled substance, and unlawful use of a
  communication facility (including the mails) to facilitate the distribute a controlled substance, in violation of 21 U.S.C. §§ 841(a)
  (1), 846 and 843(b).




        YOU ARE COMMANDED to execute this warrant on or before              6/2/22                     (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                  (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for                                 ✔ until, the facts justifying,
                   days (not to exceed 30) u                        ying,
                                                                       g,, tthe
                                                                       g     hee later specific datee ooff
                                                                             h                                 11/15/2022                 .


Date and time issued:           5/19/22
                                                                                                          JJudge’s
                                                                                                            udge’s ssi
                                                                                                                    signature
                                                                                                                     iiggnature

City and state:             Milwaukee, Wisconsin                                      Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
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AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                            22-901M(NJ)




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                                 AFFIDAVIT IN SUPPORT OF

                      AN APPLICATION FOR A SEARCH WARRANT

       I, Jeffrey R. Metke, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a United States Postal Inspector, assigned to the United States Postal

Inspection Service (“USPIS”) Domicile in Milwaukee, Wisconsin. I have been a federal law

enforcement agent for over fourteen years. From July 2007 to February 2015, I served as a Special

Agent with the United States Department of Homeland Security and from February 2015, to the

present day, with the USPIS. In addition, I have served as a Wisconsin state certified law

enforcement officer for multiple agencies in the state of Wisconsin since 1995.

       2.      The USPIS is the primary investigative arm of the United States Postal Service

(“USPS”) and is charged under Title 18, United States Code, 3061 with the enforcement of laws

governing the use and movement of the United States Mail, including the misuse and fraudulent

schemes involving the mail, crimes relating to mail fraud, narcotics trafficking and identity theft

involving the United States Mail.

       3.      I am currently a member of the North Central (formerly Wisconsin) High Intensity

Drug Trafficking Area Task Force (HIDTA) assigned to the drug interdiction initiative as an

investigator specializing in the smuggling, trafficking, and distribution of dangerous and controlled

substances through the United States Mail. I have conducted hundreds of drug investigations in

my two decades of law enforcement experience and received continual training in that and other

fields. I am familiar with various methods of smuggling and trafficking narcotics and other

controlled substances and the proceeds from sale of such substances. I am also familiar with

methods used to evade detection of both the controlled substances and the proceeds from their sale

that are used by drug traffickers. Within the USPIS, a primary investigative assignment of mine

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is the Prohibited Mail-Narcotics program, which is responsible for protecting the United States

Mail from misuse by traffickers and smugglers of illicit controlled substances. Also, within this

program area is an effort to stop the misuse of the United States Mail by said drug traffickers, by

seizing the proceeds of this unlawful activity as the proceeds are mailed back to the sources of

supply.

          4.      I have participated in numerous complex narcotics investigations which involved

violations of state and federal controlled substances laws including Title 21, United States Code,

Sections 841(a)(1) and 846 (possession with intent to distribute a controlled substance and

conspiracy to possess with intent to distribute a controlled substance), and other related offenses.

I have had both formal training and have participated in numerous complex drug trafficking

investigations, including two using wiretaps. More specifically, my training and experience

includes the following:

               a. I have utilized informants to investigate drug trafficking. Through informant
                  interviews, and extensive debriefings of individuals involved in drug trafficking, I
                  have learned about the manner in which individuals and organizations distribute
                  controlled substances in Wisconsin and throughout the United States;
               b. I have also relied upon informants to obtain controlled substances from dealers, and
                  have had informants make undercover purchases of controlled substances;
               c. I have participated in over 100 search warrants where controlled substances, drug
                  paraphernalia, and drug trafficking records were seized;
               d. I am familiar with the appearance and street names of various drugs, including
                  marijuana, heroin, cocaine, cocaine base (unless otherwise noted, all references to
                  crack cocaine in this affidavit is cocaine base in the form of crack cocaine), ecstasy,
                  and methamphetamine. I am familiar with the methods used by drug dealers to
                  package and prepare controlled substances for sale. I know the street values of
                  different quantities of the various controlled substances;
               e. I am familiar with the language utilized over the telephone to discuss drug
                  trafficking, and know that the language is often limited, guarded, and coded;
               f. I know that drug traffickers often use electronic equipment and wireless and land
                  line telephones to conduct drug trafficking operations;
               g. I know that drug traffickers commonly have in their possession, and at their
                  residences and other locations where they exercise dominion and control, firearms,
                  ammunition, and records or receipts pertaining to such;



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            h. I have assisted in court authorized wiretaps and have been trained to operate the
               equipment utilized to conduct such operations;
            i. I know that drug traffickers often put their telephones in nominee names in order
               to distance themselves from telephones that are utilized to facilitate drug
               trafficking; and
            j. I know that drug traffickers often use drug proceeds to purchase assets such as
               vehicles, property, and jewelry. I also know that drug traffickers often use
               nominees to purchase and/or title these assets in order to avoid scrutiny from law
               enforcement officials.

       5.      I have been the affiant on over 75 warrants in federal court. Based on my training

received at the Federal Law Enforcement Training Center (FLETC), personal experience, on the

job training, and working with other Postal Inspectors and Wisconsin HIDTA drug task force

officers, I know narcotics, drugs, paraphernalia, controlled substances, and moneys associated with

the sale of narcotics, drugs, and controlled substances are sent through the USPS system, and I am

familiar with many of the methods used by individuals who attempt to use the USPS to illegally

distribute controlled substances.

                                      PURPOSE OF AFFIDAVIT


       6.      This affidavit is made in support of a Federal Search and Seizure Warrant for the

SUBJECT PARCEL (described below), for items which may constitute the fruits,

instrumentalities, proceeds and evidence of violations of Title 21, United States Code, Sections

841(a)(1) (Distribution and Possession with Intent to Distribute a Controlled Substance), 846

(Conspiracy to Distribution and Possession with Intent to Distribute a Controlled Substance, and

843(b) (Unlawful Use of a Communication Facility (including the mails) to Facilitate the

Distribution of a Controlled Substance). To seize: any controlled substance, and any paraphernalia

associated with the manufacture and distribution of controlled substances including packaging

materials and containers to hold controlled substances; proceeds of drug trafficking activities, such

as United States currency, money orders, bank checks, precious metals, financial instruments; and


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drugs or money ledgers, drug distribution or customer lists, drug supplier lists, correspondence,

notations, logs, receipts, journals, books, records, and other documents noting the price, quantity,

and/or times when controlled substances were obtained, transferred, sold, distributed, and/or

concealed.

                                     PARCEL TO BE SEARCHED


       7.       This affidavit is made in support of an application for a Federal Search and Seizure

Warrant for a USPS Priority Mail piece (SUBJECT PARCEL). The SUBJECT PARCEL is

described as a 14.125” L x 12.0” W x 3.5” H, a white colored USPS branded Priority Mail

cardboard box, weighing approximately 6 pounds 4.4 ounces or 2,847 grams, and bearing USPS

Priority Mail Parcel number 9505 5115 9083 2136 4485 84. The exterior of the SUBJECT

PARCEL box is handwritten on with a black marker and is addressed from, “Desiree Lopez Astol

Barrio Santa Rosa, Calle A Buzon 265, Hatillo P.R. 00659.” The SUBJECT PARCEL is

addressed to “Johndeny Vega Lopez 1021 Lincoln Ave Sheboygan WI 53081-2648.” The Postage

paid was $16.10.

                           INVESTIGATION OF THE SUBJECT PARCEL


       8.       I, and other Postal Inspectors, have identified a trend of drug traffickers mailing

controlled substances into the Eastern District of Wisconsin, from states in the Western United

States, the Caribbean, and along the international border such as: Washington, Oregon, California,

Colorado, Nevada, New Mexico, Texas, Arizona and the territorial island of Puerto Rico. There,

controlled substances are more easily and readily available, due to certain state laws, and a porous

international border, among other reasons. Inasmuch as individuals who would receive these

controlled substances through the United States Mail are obliged to pay for said controlled

substances, often, the United States Mail is utilized by drug recipients to send payments back to

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the drug traffickers on West Coast, along the Southwestern United States and Puerto Rico. As

such, within the Prohibited Mail-Narcotics program area of the USPIS, certain indicators have

been identified in the area of the trafficking of both illegal drugs, and their proceeds, through the

United States Mail.

       9.       I, along with other Milwaukee Postal Inspectors, conduct routine examinations of

Postal Service databases and the outside of parcels traveling in the USPS Priority Mail and Priority

Mail Express to the Eastern District of Wisconsin from states in the Southwest and Western United

States as well as the territory of Puerto Rico.

       10.      On May 17, 2022, I reviewed USPS databases for all parcels in the mail stream

traveling from Puerto Rico to the 530 ZIP code in the Eastern District of Wisconsin. The 530 ZIP

code covers portions of seven different Wisconsin counties. On this day, there were five USPS

Priority Mail Parcels in the mail stream traveling from Puerto Rico to the 530 ZIP code, four of

the five were being mailed into the City of Sheboygan, Wisconsin. In the last six months, I

personally have seized, pursuant to federal search/seized warrants, six kilograms of cocaine

traveling from Puerto Rico to Sheboygan, Wisconsin. I discovered two to the four parcels were

going to the same address, 1021 Lincoln Avenue Sheboygan, Wisconsin 53081 and I began to

investigate these parcels.

       11.      On May 19, 2022, the SUBJECT PARCEL is arrived at the USPS Priority Mail

Annex in Oak Creek Wisconsin. Examination of the exterior of the box revealed the parcel was

addressed in a hand-written manner. The postage label confirmed the mailer spent $16.10 at a

Post Office in Hatillo Puerto Rico. The hand writing on the exterior of the SUBJECT PARCEL

was specifically addressed in the following manner:




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                From: Desiree Lopez Astol
                      Barrio Santa Rosa,
                      Calle A Buzon 265
                      Hatillo P.R. 00659

                To:    Johndeny Vega Lopez
                       1021 Lincoln Ave.
                       Sheboygan WI 53081

       CLEAR, USPS, DOT, database queries and K9 alert to the SUBJECT PARCEL

       12.      I contacted a drug investigator with the Sheboygan Police Department and

requested both a name search and an address search for Johndeny Vega Lopez. I was advised there

is no person named Johndeny Vega Lopez in the Sheboygan County-wide law enforcement

database. Likewise, there is no record of any person named Johndeny Vega Lopez associated with

the address 1021 Lincoln Avenue.

       13.      I conducted a search of the Thomson-Reuters CLEAR database for information

written on the mailing label for the addressed intended recipient; Johndeny Vega Lopez 1021

Lincoln Avenue Sheboygan Wisconsin 53081. The Thomson-Reuters CLEAR database returned

no record for Johndeny Vega Lopez at this address. I searched the Thomson-Reuters CLEAR

database for any person with the surname Vega Lopez in Sheboygan and the Thomson-Reuters

CLEAR database returned no record for any person with the surname Vega Lopez in Sheboygan,

Wisconsin. I searched the Thomson-Reuters CLEAR database for any person with the name

Johndeny Vega Lopez in all of Wisconsin and the Thomson-Reuters CLEAR database returned no

record for any person with the name Johndeny Vega Lopez in Wisconsin.

       14.      I conducted an open search of the Wisconsin Department of Transportation

database for the name Johndeny Vega Lopez having been issued a driver license or identification

card by the State of Wisconsin. No person named Johndeny Vega Lopez has been issued any

driver license or identification card by the State of Wisconsin.


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       15.     Based upon my training and experience in the investigation of smuggling,

trafficking and distribution of controlled substances, entering the Eastern District of Wisconsin

through the United States Mail, taken with the totality of all the circumstances surrounding the

interdiction of this parcel, I believe this parcel likely contains controlled substances being sent

through the United States Mail. I moved forward with a noninvasive law enforcement technique

which would assist to confirm or refute my suspicions.

       16.     The USPIS is a member agency of the North Central (formerly Wisconsin) High

Intensity Drug Trafficking Area-HIDTA, a multi-agency anti-drug task force, organized under the

Office of the National Drug Control Policy. I am assigned to the HIDTA-Interdiction Initiative

Group. I contacted Milwaukee Police Officer Joseph Scheuring, a certified narcotics canine (K-

9) handler who is also a member of the Interdiction Initiative Group, for assistance in conducting

a canine sniff of the air near the SUBJECT PARCEL.

       17.     On Thursday, May 19, 2022, I met with Officer Scheuring and his canine “Titus”

in a vacant office building in downtown Milwaukee Wisconsin. Together, Officer Scheuring and

Titus are a certified Police Narcotic Detection Team. Canine Titus alerts to the odor of controlled

substances (specifically heroin, cocaine, marijuana, methamphetamine and other controlled

substances made-up of these components) by passively sitting and staring at the area or object

emitting or containing the odor of the controlled substances he is trained to alert to. Officer

Scheuring and Titus have received four weeks (200 hours) of intensive training and certification

through Shallow Creek Kennels in Sharpsville Pennsylvania, in deploying and utilizing a drug

detection canine; graduating on January 15, 2021. Officer Scheuring and Titus were certified by

the North American Police Work Dog Association (NAPWDA) which is a nationally based group

in partnership with local, state, federal and international agencies including private vendors, law



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enforcement and first responder; this training establishes consensus-based best practices for the

use of detection canine teams by improving the consistency and performance of deployed teams

which will improve interdiction efforts as well as courtroom acceptance on January 13, 2021.

Officer Scheuring and Titus have detected controlled substances more than 537 times in the past,

which included training. In each alert, drugs that Titus is trained to find have been recovered or a

drug nexus has been found. Titus’s alerts have been the basis for more than twenty-six (28) state

and federal search warrants of residences, USPS Parcels, and motor vehicles. During these

searches canine Titus has located controlled substances resulting in the issuance of criminal

charges.

       18.      Officer Scheuring informed me that Titus’s alert indicates the presence of

controlled substances or other items, such as proceeds of controlled substances, which have been

recently contaminated with, or associated with, the odor of one or more controlled substances.

       19.     On May 19, 2022, the SUBJECT PARCEL, was among four additional empty

boxes placed in a vacant office building in downtown Milwaukee Wisconsin. Officer Scheuring

and I watched Titus ceasing all movement, sitting, and staring at the SUBJECT PARCEL.

Officer Scheuring advised me that these actions are consistent with Titus alerting on the

SUBJECT PARCEL, detecting the odor of controlled substances.

       20.     Based upon the information as outlined in this affidavit, I respectfully believe that

this parcel may contain controlled substances being trafficked through the United States Mail.

Consequently, I respectfully request authorization to open this parcel and search its contents for

evidence of controlled substance trafficking. I also request permission to seize contents of the

parcel as evidence, that may constitute contraband, proceeds or fruits of the crime of violations of

Title 21, United States Code, Sections 841(a)(1) (Distribution and Possession with Intent to



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Distribute a Controlled Substance), 846 (Conspiracy to Distribution and Possession with Intent to

Distribute a Controlled Substance, and 843(b) (Unlawful Use of a Communication Facility

(including the mails) to Facilitate the Distribution of a Controlled Substance).

       21.     I have not included in this affidavit each and every fact known to me regarding this

investigation and search warrant application request; the facts included are only those that I,

respectfully, believe may relate to a determination of whether there is probable cause to believe

that items sought to be seized will be found in the place, or item, to be searched, and whether those

items are evidence of the offenses identified in this affidavit.

       22.     The SUBJECT PARCEL is currently located at the United States Postal

Inspection Service Office in Milwaukee, Wisconsin.




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